                                       UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF MISSOURI WESTERN DIVISION

 UNITED STATES OF AMERICA                                                  §      JUDGMENT IN A CRIMINAL CASE
                                                                           §
 v.                                                                        §
                                                                           §      Case Number: 2:11-CR-04025-01-BCW
 MASSOUD “TONY” LATIFI                                                     §      USM Number: 28890-055
                                                                           §      Patrick A. McInerney, Retained
                                                                                  Carly Duvall, Retained
                                                                           §      Defendant’s Attorney

THE DEFENDANT:

       pleaded guilty on December 16, 2019 to Count 1 of a Superseding Information before a U.S. Magistrate Judge, which was
 ☒ accepted by the Court on January 6, 2020.

The defendant is adjudicated guilty of these offenses:

 Title & Section / Nature of Offense                                                                 Offense Ended          Count

 13 U.S.C. Sec. 305 – Misrepresentation and Concealment of Facts on Shippers’ Export                 11/23/2007             1
 Declarations

The defendant is sentenced as provided in the following pages of this judgment. The sentence is imposed pursuant to the Sentencing
Reform Act of 1984.

 ☒ The original Indictment and Superseding Indictment are dismissed on the motion of the United States.

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If
ordered to pay restitution, the defendant must notify the court and United States attorney of material changes in economic
circumstances.


                                                                    May 12, 2020
                                                                    Date of Imposition of Judgment




                                                                    /s/Brian C. Wimes
                                                                    Signature of Judge

                                                                    JUDGE BRIAN C. WIMES
                                                                    UNITED STATES DISTRICT COURT
                                                                    Name and Title of Judge

                                                                    May 12, 2020
                                                                    Date




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DEFENDANT:                MASSOUD ‘TONY” LATIFI
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                                                       IMPRISONMENT

The defendant is hereby committed to the custody of the United States Federal Bureau of Prisons to be imprisoned for a total term of:

TIME SERVED, on this one-count Information.

 ☐ The court makes the following recommendations to the Federal Bureau of Prisons:




 ☐ The defendant is remanded to the custody of the United States Marshal.
 ☐ The defendant shall surrender to the United States Marshal for this district:

          ☐ at                                     ☐    a.m.          ☐   p.m.     on

          ☐ as notified by the United States Marshal.

 ☐ The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

          ☐ On or before 2 p.m. on
          ☐ as notified by the United States Marshal.
          ☐ as notified by the Probation or Pretrial Services Office.


                                                           RETURN
I have executed this judgment as follows:


        Defendant delivered on                                   to


at                                     , with a certified copy of this judgment.




                                                                                        UNITED STATES MARSHAL

                                                                                                   By
                                                                                    DEPUTY UNITED STATES MARSHAL




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DEFENDANT:                 MASSOUD ‘TONY” LATIFI
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                                                   SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of: 2 years.

                                             MANDATORY CONDITIONS
 1.   You must not commit another federal, state or local crime.
 2.   You must not unlawfully possess a controlled substance.
 3.   You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release
      from imprisonment and at least two periodic drug tests thereafter, as determined by the court.
           ☐ The above drug testing condition is suspended, based on the court's determination that you pose a low risk of future
                 substance abuse. (check if applicable)
 4.   ☐ You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence
           of restitution. (check if applicable)
 5. ☒ You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
 6. ☐ You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et
           seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which
           you reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)

 7.   ☐ You must participate in an approved program for domestic violence. (check if applicable)

          You must comply with the standard conditions that have been adopted by this court as well as with any additional
 conditions on the attached page.




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                              STANDARD CONDITIONS OF SUPERVISION

As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are
imposed because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed
by probation officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

    1.  You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of
        your release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a
        different time frame.
    2. After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how
        and when you must report to the probation officer, and you must report to the probation officer as instructed.
    3. You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission
        from the court or the probation officer.
    4. You must answer truthfully the questions asked by your probation officer.
    5. You must live at a place approved by the probation officer. If you plan to change where you live or anything about your
        living arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the
        change. If notifying the probation officer in advance is not possible due to unanticipated circumstances, you must notify the
        probation officer within 72 hours of becoming aware of a change or expected change.
    6. You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation
        officer to take any items prohibited by the conditions of your supervision that he or she observes in plain view.
    7. You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses
        you from doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation
        officer excuses you from doing so. If you plan to change where you work or anything about your work (such as your position
        or your job responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the
        probation officer at least 10 days in advance is not possible due to unanticipated circumstances, you must notify the probation
        officer within 72 hours of becoming aware of a change or expected change.
    8. You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has
        been convicted of a felony, you must not knowingly communicate or interact with that person without first getting the
        permission of the probation officer.
    9. If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
    10. You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything
        that was designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as
        nunchakus or tasers).
    11. You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant
        without first getting the permission of the court.
    12. If the probation officer determines that you pose a risk to another person (including an organization), the probation officer
        may require you to notify the person about the risk and you must comply with that instruction. The probation officer may
        contact the person and confirm that you have notified the person about the risk.
    13. You must follow the instructions of the probation officer related to the conditions of supervision.

U.S. Probation Office Use Only

A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a
written copy of this judgment containing these conditions. I understand additional information regarding these
conditions is available at www.txnp.uscourts.gov.

 Defendant’s Signature                                                                           Date




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                                 SPECIAL CONDITIONS OF SUPERVISION

    In addition to the mandatory and standard conditions of supervision adopted by the Court, the defendant shall also comply
    with the following special conditions of supervised release:

    a)   The defendant shall apply all monies received from income tax refunds, tax refunds, lottery/gambling winnings,
         judgments, and/or other anticipated or unexpected financial gains to the outstanding Court-ordered financial
         obligation. The defendant shall immediately notify the probation officer of the receipt of any indicated monies.

    b) The defendant shall provide the Probation Office with access to any requested financial information.

    c)   The defendant shall not incur new credit charges or open additional lines of credit without the approval of the Probation
         Office, while court-ordered financial obligations are outstanding.

    d) The defendant shall submit his/her person and any property, house, residence, office, vehicle, papers, computer, other
       electronic communication or data storage devices or media and effects to a search, conducted by a U.S. Probation
       Officer at a reasonable time and in a reasonable manner, based upon reasonable suspicion of contraband or evidence
       of a violation of a condition of release; failure to submit to a search may be grounds for revocation; the defendant shall
       warn any other residents that the premises may be subject to searches pursuant to this condition.

    e)   The defendant shall comply with the Western District of Missouri Offender Employment Guideline which may include
         participation in training, counseling, and/or daily job searching as directed by the probation officer. If not in
         compliance with the condition of supervision requiring full-time employment at a lawful occupation, the defendant
         may be required to perform up to 20 hours of community service per week until employed, as approved or directed
         by the probation officer.




                                             ACKNOWLEDGMENT OF CONDITIONS

I have read the conditions of supervision set forth in this judgment and I fully understand them. I have been provided a copy of them.

I understand that upon finding of a violation of probation or supervised release, the Court may (1) revoke supervision, (2) extend the
term of supervision, and/or (3) modify the conditions of supervision. I understand additional information regarding these conditions is
available at the www.uscourts.gov.

_______________________________________                ____________________
Defendant                                              Date

________________________________________               ___________________
United States Probation Officer                        Date




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                                          CRIMINAL MONETARY PENALTIES

               The defendant must pay the total criminal monetary penalties as set forth below:

                        AVAA Assessment*                     Assessment       JVTA Assessment*                      Fine                  Restitution
 TOTALS                                                         $100.00                                          WAIVED                          N/A

It is ordered that the Defendant shall pay to the United States a special assessment of $100.00, which shall be due immediately. Said
special assessment shall be paid to the Clerk, U.S. District Court.

Since the Court finds the defendant does not have the ability to pay a fine, the fine is waived.

The preliminary order of forfeiture is finalized and imposed.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is
due during the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of
Prisons’ Inmate Financial Responsibility Program, are made to the clerk of the court.

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) JVTA Assessment, (8) penalties, and (9) costs, including cost of prosecution and court costs.

All payments shall be made through the Clerk of the Court, United States District Court, 400 East 9th Street, Room 1150, Kansas City, MO 64106.

          If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
          the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
          before the United States is paid.


* Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299.
** Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
*** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on
or after September 13, 1994, but before April 23, 1996.




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